        Case 2:22-ap-01071-ER                    Doc 31
                                                     25 Filed 06/28/22
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                                                                               06/24/22 14:29:43
                                                                                        10:38:22                                      Desc
                                                  Main Document    Page 1 of 3

  Attorney or Party Name, Address, Telephone & FAX                        FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
 GARCIA RAINEY BLANK & BOWERBANK LLP
  A LIMITED LIABILITY PARTNERSHIP
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 Facsimile: (714) 784-0031

 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                              DIVISION

 In re:
 HOWARD CHORNG JENG WU
                                                                          CASE NO.: 2:21-bk-19480-ER
                                                                          CHAPTER: 7
                                                                          ADVERSARY NO.: 2:22-ap-01071-ER

                                                          Debtor(s).
MICHAEL CHUNG-HOU CHIANG, an
individual; and AGNES SHENE HWA
CHIN, an individual



                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 HOWARD WU
                                                                                      [LBR 7004-1]
                                                                           RE: FIRST AMENDED COMPLAINT FILED
                                                                           06/21/2022

                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is refer to FRBP 7015 . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date: 10/11/2022                      Address:
            Time: 10:00 am                                   255 East Temple Street, Los Angeles, CA 90012
            Courtroom: 1568                                  3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: 06/24/2022




                                                                                By: Lydia Gonzalez
                                                                                          Deputy Clerk




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                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Order Establishing Courtroom Procedures for Trials and Evientiary Hearings Re; First Amended Complaint Filed 06/21/22; Scheduling Order Re: First Amended Compaint
_________________________________________________________________________________________________
 Filed 06/21/22.
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
             06/27/2022
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed. Howard Chorng Jeng Wu, 13600 Bayliss Road, Los Angeles, CA 90049 ;
  Heide Kurtz (TR), 2515 S. Western Avenue #11, San Pedro, CA 90732; United States Trustee (LA), 915 Wishire Blvd, Suite 1850, Los Angeles, CA 90017; Eric Bensamochan,

   9025 Wilshire Blvd., Suite 215, Beverly Hills, CA 90211.



                                                                                                 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                                 Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  06/28/2022                         Karina Lopez
 Date                               Printed Name                                                     Signature



               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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